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 7
 8                            UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA
 9
10
11   VICTOR CHEVALIER               ) Case No.: 5:17-cv-02322-CJC-SHK
12                                  )
              Plaintiff,            ) Notice of Settlement
13                                  )
14   v.                             )
                                    )
15
     CAPITAL ONE BANK USA, N.A., ET )
16   AL.                            )
17
                                    )
               Defendants           )
18                                  )
19                                  )
                                    )
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21
           Please take notice that this matter is settled with all defendants. It is anticipated the
22
     settlement will be completed within 30 days.
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24
25   Dated: October 29, 2018                 /s/Jeremy S. Golden__________________________
26                                           Jeremy S. Golden
                                             Attorney for Plaintiff
27
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                                              Notice of Settlement
